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                                                                                      FILED
                                                                                    July 17, 2020
                        IN THE UNITED STATES DISTRICT COURT KAREN MITCHELL
                        FOR THE NORTHERN DISTRICT OF TEXAS CLERK, U.S. DISTRICT
                                  DALLAS DIVISION                COURT

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §    CRIMINAL CASE NO. 3:19-CR-83-M
                                                  §
RUEL M. HAMILTON (01)                             §

                          ORDER REVOKING PRETRIAL RELEASE
        On this day, the Court considered whether to revoke its March 1, 2019 Order Setting

Conditions of Release, Doc. 15, based on the allegations contained in the Government’s Sealed

Motion to Revoke or Modify the Defendant’s Conditions of Pretrial Release, Doc. 227. The

Government appeared by and through Assistant United States Attorneys Andrew Wirmani,

Tiffany Eggers and Chad Meacham, and announced ready. Defendant appeared in person and

through his attorneys of record, Abbe Lowell1 and Dion Robbins, and by attorney Thomas

Melsheimer2, and likewise announced ready.

        Upon consideration of the proffers and evidence offered, the argument of counsel and the

oral report of the Pretrial Services Officer, and for the reasons stated on the record at the hearing,

the Court makes the following findings pursuant to 18 U.S.C. § 3148:

        The Court finds by clear and convincing evidence that Defendant—who is charged by

indictment, Doc. 139, with Bribery, in violation of 18 U.S.C. § 666(a)(2), Conspiracy to Commit

Bribery, in violation of 18 U.S.C. § 371, and Use of an Interstate Facility to Commit a Travel

Act Violation, in violation of 18 U.S.C. § 1952(a)(3)—violated pretrial release Condition (7)(g),


1
 Mr. Lowell appeared via video teleconference.
2
 Although Mr. Melsheimer has not yet entered his appearance as attorney of record in the case,
he is a partner of the law firm for which Mr. Robbins is an associate and appeared with the Court’s
implicit permission.
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requiring that he “avoid all contact, directly or indirectly, with any person who is or may be a

victim or witness in the investigation or prosecution, including any co-defendants or co-

conspirators.” Doc. 15 at 2.

       Based on the foregoing, the factors outlined in 18 U.S.C. § 3142(g), the egregious nature

of the violations, and the lack of any more effective conditions under the circumstances

presented, the Court finds that (1) there is no condition or combination of conditions the Court

could impose that would reasonably assure the safety of the community or another person, and

(2) Defendant is unlikely to abide by any condition or combination of conditions of release the

Court could impose. See 18 U.S.C. § 3148(b)(2)(B). Accordingly, Defendant’s order of pretrial

release is REVOKED.

       It is ORDERED that Defendant is committed to the custody of the Attorney General and

United States Marshal.

       It is ORDERED that while in the custody of the Attorney General and the United States

Marshal, Defendant be confined in a corrections facility separate, to the extent practicable, from

persons serving sentences or being held in custody pending appeal.

       It is ORDERED that Defendant, while being so held, be afforded a reasonable

opportunity for private consultation with counsel.

       It is ORDERED that, on an order of a court of the United States, or at the request of the

attorney for the Government, the person in charge of the corrections facility in which Defendant

is confined shall deliver Defendant to a United States Marshal for appearances relating to court

proceedings in the Northern District of Texas.




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       On motion of Defendant, this Order is STAYED for 14 days from the filing of this Order

to permit Defendant to take an appeal to the district judge and for the time thereafter that said

appeal is pending before the district judge.

       SIGNED July 17, 2020.




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